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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF LOUISIANA
    In re:                          §
                                    §     Case No. 20-10846
    THE ROMAN CATHOLIC CHURCH       §
    OF THE ARCHDIOCESE OF NEW       §     Section “A”
    ORLEANS,                        §
                                    §     Chapter 11
           Debtor. 1                §
                                    §


                     NOTICE OF FILING OF PROPOSED AGREED ORDER
                             [Relates to ECF Nos. 1584 and 2138]

           PLEASE TAKE NOTICE that, on March 10, 2023, the Court scheduled an evidentiary

   hearing on the Debtor’s Expedited Motion for Authority to Lease Property Pursuant to §§ 105(a)

   and 363(b) of the Bankruptcy Code [ECF No. 1584] (the “Motion”), for Tuesday, April 18, 2023,

   at 9:00 a.m. [ECF No. 2138].

           PLEASE TAKE FURTHER NOTICE that The Roman Catholic Church of the Archdiocese

   of New Orleans (the “Debtor” or “Archdiocese”), The Official Committee of Unsecured Creditors

   (the “Committee”), and The Official Committee of Unsecured Commercial Creditors (the

   “Commercial Committee”) have agreed to resolve the Motion by consent.

           PLEASE TAKE FURTHER NOTICE that a proposed Agreed Order is attached hereto as

   Exhibit A.




           1
             The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s
   principal place of business is located at 7887 Walmsley Ave., New Orleans, LA 70125.


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           Dated: March 20, 2023                 Respectfully submitted,

                                                 /s/ Mark A. Mintz
                                                 R. PATRICK VANCE (#13008)
                                                 ELIZABETH J. FUTRELL (#05863)
                                                 MARK A. MINTZ (#31878)
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                                                 ATTORNEYS FOR
                                                 THE ROMAN CATHOLIC CHURCH OF
                                                 THE ARCHDIOCESE OF NEW ORLEANS


                                   CERTIFICATE OF SERVICE

            I hereby certify, on March 20, 2023, that a true and correct copy of the foregoing Notice
   (a) is being filed through the Court’s ECF system, which provides electronic notice to all attorneys
   registered to receive notice through such system, including all attorneys who have filed papers
   with respect to the matters scheduled for hearing, and (b) is being provided to Donlin Recano &
   Company, Inc. (“DRC”), to be served by email or First Class U.S. Mail, postage prepaid, on all
   other parties requiring service under the Court’s Ex Parte Order Authorizing the Debtor to Limit
   Notice and Establishing Notice Procedures [ECF No. 22].

                                                 /s/ Mark A. Mintz
                                                 Mark A. Mintz




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